                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


TYREE BELL,                                      )
                                                 )
                              Plaintiff,         )
                                                 )
v.                                               )   Case No. 4:17-cv-695-DGK
                                                 )
OFFICER PETER NEUKIRCH, et al.,                  )
                                                 )
                              Defendants.        )


                                PLAINTIFF’S TRIAL BRIEF

       Plaintiff, by his counsel, submits the following to assist the Court and expedite rulings

during the trial of the above-captioned.

       1. Plaintiff’s arrest without probable cause and subsequent detention violate the
       Fourth Amendment.

       Defendants have previously intimated that Bell’s detention was not a violation of the

Fourth Amendment because on June 10 – two days after his arrest – he had a detention

hearing before a Family Court Commissioner that was tantamount to a probable cause

hearing and the commissioner’s order amounted to a finding of probable cause. But there is a

factual dispute as to what did and did not occur in Family Court. The evidence will be that

neither Munyan nor Neukirch testified nor were they even present at that hearing. And

Plaintiff anticipates that there will be testimony that the police reports were likely not

available to the commissioner during that hearing; that the juvenile officer and/or the attorney

for the juvenile officer, i.e., the prosecutor, would have merely summarized for the

commissioner what was known at the time; that almost no one is kept in detention unless



        Case 4:17-cv-00695-DGK Document 141 Filed 09/27/21 Page 1 of 10
there was a firearm offense charged (or a sex crime or crime of violence – not relevant here);

and, that all the juvenile officer or the attorney for the juvenile officer had to tell the

commissioner for the result to be an order of detention was that a firearm was involved. That

is hardly a probable cause hearing. And the second hearing was simply an arraignment at

which the only persons appearing were Bell, his mother, his appointed counsel, a deputy

juvenile officer, and the attorney for the juvenile officer, so there was no more evidence of

probable cause at that hearing than at the first hearing. Given that the arrest of Bell was

based on a rushed, eyewitness misidentification and was therefore without reliable probable

cause, the flawed process by which he was ordered detained and remained in detention for 21

days was also without probable cause and was a violation of the Fourth Amendment.

        As observed in Manuel v. City of Joliet, 580 U.S. ___, 137 S.Ct. 911 (2017), it is

settled law that the Fourth Amendment protects the right of the people to be free from

unreasonable seizures. Id. at 917. A person is seized whenever officials restrain his freedom

of movement such that he is not free to leave. Id. (citing Brendlin v. California, 551 U.S.

249, 254 (2007)). And the Fourth Amendment establishes the standards and procedures

governing pretrial detention, and its protection applies even after the start of legal process in

a criminal case – even after a judge’s determination of probable cause. Id. (citing Gerstein v.

Pugh, 420 U.S. 103, 111 (1975); Albright v. Oliver, 510 U.S. 266, 274 (1994) (plurality

opinion); id., at 290 (Souter, J. concurring in judgment)). In Gerstein, the Supreme Court

upheld the claim of two people arrested without a warrant and held in custody for “a

substantial period solely on the decision of a prosecutor.” Gerstein, 420 U.S. at 106. The

Court agreed with those plaintiffs that a pretrial restraint on liberty is unlawful unless a judge


                                                  2
        Case 4:17-cv-00695-DGK Document 141 Filed 09/27/21 Page 2 of 10
or grand jury makes a reliable finding of probable cause. Id. at 1114, 117, n. 19. The Fourth

Amendment guarantees a “fair and reliable determination of probable cause as a condition for

any significant pretrial restraint. Id. at 125. Those detained prior to trial without such a

finding could appeal to the Fourth Amendment’s protection against unfounded invasions of

liberty. Id. at 112.

       As Manuel makes clear:

               . . . pretrial detention can violate the Fourth Amendment not only when it
       precedes, but also when it follows the start of legal process in a criminal case. The
       Fourth Amendment prohibits government officials from detaining a person in the
       absence of probable cause. [Citation omitted.] That can happen when the police hold
       someone without any reason before the formal onset of a criminal proceeding. But it
       also can occur when legal process itself goes wrong – when, for example, a judge’s
       probable cause determination is predicated solely on a police officer’s false
       statements. Then, too, a person is confined without constitutionally adequate
       justification. Legal process has gone forward, but it has done nothing to satisfy the
       Fourth Amendment’s probable-cause requirement. And for that reason, it cannot
       extinguish the detainee’s Fourth Amendment claim . . ..

               For that reason, . . . Manuel stated a Fourth Amendment claim when he sought
       relief not merely for his (pre-legal-process) arrest, but also for his (post-legal-process)
       pretrial detention. . . . Police officers initially arrested Manuel without probable
       cause, based solely on his possession of pills that had field tested negative for an
       illegal substance. So . . . Manuel could bring a claim for wrongful arrest under the
       Fourth Amendment. And the same is true . . . as to a claim for wrongful detention –
       because Manuel’s subsequent weeks in custody were also unsupported by probable
       cause, and so also constitutionally unreasonable. . . . All that the judge had before
       him were police fabrications about the pills’ content. The judge’s order holding
       Manuel for trial therefore lacked any proper basis. And that means Manuel’s ensuing
       pretrial detention, no less than his original arrest, violated his Fourth Amendment
       rights. Or put just a bit differently: Legal process did not expunge Manuel’s Fourth
       Amendment claim because the process he received failed to establish what that
       Amendment makes essential for pretrial detention – probable cause to believe he
       committed a crime.

Manuel, 137 S.Ct. at 918-20.

       So too here, there was no probable cause for Bell’s arrest. All that the commissioner


                                                3
        Case 4:17-cv-00695-DGK Document 141 Filed 09/27/21 Page 3 of 10
had before him was the assertion that Bell had been arrested on a firearms charge. Therefore,

his detention on the mere request of the juvenile officer or the attorney for the juvenile

officer was also unsupported by probable cause and also constitutionally unreasonable.

       2. A “prudent” officer acting reasonably is an element of probable cause.

       As Plaintiff emphasized in objecting to Defendants’ proposed verdict directors and

proffering his own verdict director and a separate instruction defining probable cause (Docs.

132 - 132-2), Eighth Circuit Model Civil Jury Instruction 4.51 does not adequately define

probable cause. The Court should instruct the jury using the simple verdict directors

proffered by Plaintiff, requiring that the jury find that Neukirch and Munyan “did not have

probable cause to arrest Plaintiff”1, and the separate instruction defining probable cause that

incorporates the term “prudent” as used repeatedly in the Eighth Circuit’s opinion in this case

as well as in Supreme Court opinions. See, e.g., Bell v. Neukirch, 979 F.3d 594, 605 (8th Cir.

2020) (“the totality of circumstances was insufficient to warrant a prudent officer in believing

that Bell was the suspect”); see also Gerstein, 420 U.S. at 111-112 (the standard calls for

“facts and circumstances sufficient to warrant a prudent man in believing that the (suspect)

had committed or was committing an offense”); Kaley v. United States, 571 U.S. 320, 338

(2014) (“Probable cause . . . requires only the kind of fair probability on which reasonable

and prudent people . . . act”).




       1
        The parties have stipulated that Defendants Neukirch and Munyan arrested Bell.
Therefore, the only element the jury needs to find is that there was no probable cause to
arrest Bell.

                                                4
        Case 4:17-cv-00695-DGK Document 141 Filed 09/27/21 Page 4 of 10
       3. Additional aspects of what constitutes probable cause warrant instruction.

       As also previously asserted in Plaintiff’s jury instruction submission (Doc. 132 - 132-

2), the jury should be instructed that probable cause may justify an officer arresting an

otherwise innocent person only “when that person reasonably fits the description of the

suspect.” Bell, 979 F.3d at 603 (citing Hill v. California, 401 U.S. 797, 804 (1971))

(emphasis in Bell). It is also important that the jury understand that the totality of the

circumstances determines the existence of probable cause and so officers are not free to

disregard plainly exculpatory evidence even if substantial inculpatory evidence, standing

alone, suggests that probable cause exists. Bell, 979 F.3d at 603 (quoting Kuehl v. Burtis,

173 F.3d 646, 650 (8th Cir. 1999)). The weight of all of the evidence, not just the sufficiency

of the incriminating evidence, goes into a determination of whether there was probable cause

to arrest. Id.

       And it is crucial that jurors understand that, as the Eighth Circuit held in this case –

indeed, as Plaintiff has argued, it is the law of the case – officers have a duty to conduct a

reasonably thorough investigation prior to an arrest in the absence of exigent circumstances

and so long as law enforcement would not be unduly hampered if officers wait to obtain more

facts before making the arrest. Bell, 979 F.3d at 604 (quoting Kuehl, 173 F.3d at 650). Both

of those conditions were the case here – the gun had been recovered and the officers had the

names and contact information of the two apprehended juveniles and their parents/guardians,

as well as Bell’s. All they were lacking was the true suspect. Had officers taken more time

to investigate, they might have actually identified and arrested the teen who had the gun and

ran from them while avoiding wrongfully arresting Bell.


                                                5
        Case 4:17-cv-00695-DGK Document 141 Filed 09/27/21 Page 5 of 10
       4. Behavior and state of mind are revelatory.

       a. The state of mind of Munyan and Viesselman at the moment of Bell’s arrest (as

evidenced by a nod of Viesselman’s head and a very brief verbal acknowledgment to Bell,

who then asks, “It’s me?”) are relevant to establish the precise time of that arrest, laying a

marker as to the circumstances of the eyewitness identification by Munyan and the

acknowledgment of the same by Viesselman. It is evidence as to where Munyan was at the

moment, what he had seen or not seen, and is important for the understanding of the jury as

to circumstances of that arrest and whether or not there was probable cause. The very brief

verbal acknowledgment by Viesselman to Bell (“That’s what he said.”) that indeed Bell had

at that moment been identified and was under arrest is not hearsay. It is clearly not offered

for the truth of the matter – that Bell was the suspect runner – and it marks the state of mind

(and, importantly, the moment in time) of both Munyan and Viesselman as to when they

understood Bell was arrested.

       b. Viesselman, while waiting for Munyan to come to where Viesselman had detained

Bell, spoke to Bell (not heard by Munyan): “You don't seem like you’re really out of breath

after a foot chase or anything so I don't imagine it’s you, but you match what he’s wearing so

that’s why I gotta stop you until we check, OK?", and “It sounds like they’re on their way

here, so we should be done here pretty quick.” The observation and comment by Viesselman

about Bell not being out of breath had already been radioed by Viesselman to Munyan,

describing Bell's breathing as “normal.” These comments are offered to establish the state of

mind of Viesselman, a police officer with presumably the same understanding of probable

cause as Munyan. Viesselman, based on what he had observed and radioed to Munyan


                                                6
        Case 4:17-cv-00695-DGK Document 141 Filed 09/27/21 Page 6 of 10
(black and white shorts, not blue; not out of breath as after a foot case; 6’3” tall, not 5’10”;

shoes on, not off) and his state of mind as to a lack of probable cause (“don’t imagine it’s

you” and “be done here pretty quick”) are helpful evidence for the jury to determine if further

investigation was necessary before a probable cause determination could be made. These

comments by Viesselman are some evidence as to what is reasonable under the

circumstances. After all, he was the officer who stopped Bell on reasonable suspicion. He

was the one who could detain Bell for a necessary investigation to determine if reasonable

suspicion could be converted to probable cause, and he had concluded that, without more

evidence, there was no probable cause, at least not at that time. His comments should be

admitted to help the jury understand what was or was not reasonable.

       5. The evidence will support submitting punitive damages.

        There are two reasons why the evidence will support submitting the issue of punitive

damages to the jury. First, if the jury finds lack of probable cause because the defendants

acted unreasonably, unreasonable acts in themselves are sufficient to support punitive

damages. Second, the evidence will establish that in arresting Bell the defendants acted in

reckless disregard to his constitutional right to be free from an unreasonable seizure.

       6. The Court should permit leading questions of Officer Viesselman by
       Plaintiff’s counsel.

       Under Fed. R. Evid. 611(c), leading questions should not be used on direct

examination except as necessary to develop a witness’ testimony. However, the rule further

provides that a court should allow leading questions on cross-examination, and when a party

calls a hostile witness, an adverse party, or a witness identified with an adverse party. “The

use of leading questions is a matter left to the discretion of the district court.” United States

                                                7
        Case 4:17-cv-00695-DGK Document 141 Filed 09/27/21 Page 7 of 10
v. Good low, 105 F.3d 1203, 1207-08 (8th Cir. 1997) (quoting United States v. Butler, 56

G.3d 941, 943 (8th Cir.), cert. denied, 516 U.S. 924 (1995)); see also, Fed. R. Evid. 611 (c)

Advisory committee’s note (whether to allow leading questions “clearly falls within the area

of control by the judge over the mode and order of interrogation and presentation”).

       In Ellis v. City of Chicago, 667 F.2d 606 (7th Cir. 1981), an action to recover against

the city and a police officer after the officer killed their dog, the plaintiffs argued that the

district court should have permitted leading questions of two other officers who were also

employed by the City of Chicago. The Seventh Circuit observed that they were so employed

at all times during the litigation, had worked with the defendant officer during that

employment, and that they had each been present during portions of the incident giving rise

to the lawsuit. The court concluded that they “thus clearly qualified as ‘witness(es) identified

with an adverse party’ for purposes of Rule 611(c).” Id. at 613.

       Here, Plaintiff’s counsel should be allowed to ask leading questions of Officer

Viesselman since he is a witness identified with the defendants. Like in Ellis, Viesselman

testified in his deposition that he talks with Munyan and Neukirch “all the time”; he

participated in the arrest; and he complemented Munyan with a “Good job, you!” and a pat

on the shoulder. When Rule 611(c) was proposed in 1972, and as enacted in 1974, the

drafters determined that prior limitations on who was hostile represented “an unduly narrow

concept of those who may safely be regarded as hostile without further demonstration.” Fed.

R. Evid. 611 (c) Advisory committee’s note. “The new rule was thus designed to enlarge the

categories of witnesses automatically regarded as adverse and therefore subject to

interrogation by leading questions without further showing of actual hostility.” Ellis, 667


                                                 8
        Case 4:17-cv-00695-DGK Document 141 Filed 09/27/21 Page 8 of 10
F.2d at 613. Viesselman checks all of the boxes that led the Seventh Circuit to conclude the

two officers in Ellis clearly qualified as witnesses identified with an adverse party and so this

Court should permit Plaintiff’s counsel to employ leading questions during his testimony.

       7. A twelve-person jury unduly increases Plaintiff’s burden.

       Plaintiff contends that twelve jurors is excessive and improperly increases the burden

of proof on Plaintiff. While twelve jurors compared to eight in a criminal trial also increases

the burden on the prosecution, that increased burden is consistent with the obligation of the

government to prove the guilt of the defendant beyond a reasonable doubt and serves both

constitutional and criminal justice ends, enhancing the reliability of a guilty verdict. There is,

however, no comparable justification for increasing the burden of proof on a plaintiff in a

civil case. Plaintiff respectfully requests that the Court seat a jury of eight jurors in this case.


                                                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing was filed on the Court’s


                                                 9
        Case 4:17-cv-00695-DGK Document 141 Filed 09/27/21 Page 9 of 10
electronic filing system which served a copy on counsel identified below this 27th day of

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                                            10
      Case 4:17-cv-00695-DGK Document 141 Filed 09/27/21 Page 10 of 10
